       Case 18-71401                Doc 9           Filed 10/20/18 Entered 10/21/18 00:55:48                          Desc Imaged
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Information to identify the case:
Debtor 1              Mark Ashley Gibson                                                Social Security number or ITIN          xxx−xx−9048
                      First Name   Middle Name     Last Name                            EIN _ _−_ _ _ _ _ _ _
Debtor 2              Lucia Gibson                                                      Social Security number or ITIN          xxx−xx−8485
(Spouse, if filing)
                      First Name   Middle Name     Last Name                            EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court            Western District of Virginia
                                                                                        Date case filed for chapter 7 10/18/18
Case number:          18−71401


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                               12/15

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                 About Debtor 1:                                     About Debtor 2:

1.      Debtor's full name                       Mark Ashley Gibson                                  Lucia Gibson

2.      All other names used in the                                                                  fka Lucia Koski, fka Lucia Williams
        last 8 years

3.     Address                               211−1 College Drive                                    5438 Loblolly Dr
                                             Daleville, VA 24083                                    Roanoke, VA 24019

4.     Debtor's attorney                     Malissa Lambert Giles                                  Contact phone 540 981−9000
                                             Giles & Lambert PC
       Name and address                      P O BOX 2780
                                             ROANOKE, VA 24001

5.     Bankruptcy trustee                    Scot S. Farthing (424194)                              Contact phone (276) 625−0222
                                             P. O. Box 1315
       Name and address                      490 West Monroe Street
                                             Wytheville, VA 24382
                                                                                                               For more information, see page 2 >
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Debtor Mark Ashley Gibson and Lucia Gibson                                                                                  Case number 18−71401


6. Bankruptcy clerk's office                      210 Church Ave., Room 200                                   Hours open 8 a.m. − 4:30 p.m.
                                                  Roanoke, VA 24011
    Documents in this case may be filed at this                                                               Contact phone (540) 857−2391
    address. You may inspect all records filed
    in this case at this office or online at
    www.pacer.gov.                                                                                            Date: 10/18/18


7. Meeting of creditors                           November 15, 2018 at 01:30 PM                               Location:

    Debtors must attend the meeting to be         The meeting may be continued or adjourned to a              cr mtg, ROA, First Campbell
    questioned under oath. In a joint case,       later date. If so, the date will be on the court            Square, Rm 120, 210 First St,
    both spouses must attend. Creditors may
    attend, but are not required to do so.        docket.                                                     SW, Roanoke, VA 24011

                                                          *** Valid photo identification required ***


8. Presumption of abuse                           The presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                   File by the deadline to object to discharge or                 Filing deadline: 1/14/19
                                               to challenge whether certain debts are
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.
                                                  You must file a complaint:
                                                  • if you assert that the debtor is not entitled to
                                                    receive a discharge of any debts under any of the
                                                    subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                    or

                                                  • if you want to have a debt excepted from discharge
                                                    under 11 U.S.C § 523(a)(2), (4), or (6).

                                                  You must file a motion:
                                                  • if you assert that the discharge should be denied
                                                    under § 727(a)(8) or (9).


                                                  Deadline to object to exemptions:                           Filing deadline: 30 days after the
                                                  The law permits debtors to keep certain property as         conclusion of the meeting of creditors
                                                  exempt. If you believe that the law does not authorize an
                                                  exemption claimed, you may file an objection.


10. Proof of claim                                No property appears to be available to pay creditors. Therefore, please do not file a
                                                  proof of claim now. If it later appears that assets are available to pay creditors, the clerk
    Please do not file a proof of claim unless    will send you another notice telling you that you may file a proof of claim and stating the
    you receive a notice to do so.                deadline.

11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                     asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                     United States bankruptcy law if you have any questions about your rights in this case.

12. Exempt property                               The law allows debtors to keep certain property as exempt. Fully exempt property will
                                                  not be sold and distributed to creditors. Debtors must file a list of property claimed as
                                                  exempt. You may inspect that list at the bankruptcy clerk's office or online at
                                                  www.pacer.gov. If you believe that the law does not authorize an exemption that the
                                                  debtors claim, you may file an objection. The bankruptcy clerk's office must receive the
                                                  objection by the deadline to object to exemptions in line 9.
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                                      United States Bankruptcy Court
                                      Western District of Virginia
In re:                                                                                  Case No. 18-71401-pmb
Mark Ashley Gibson                                                                      Chapter 7
Lucia Gibson
         Debtors
                                        CERTIFICATE OF NOTICE
District/off: 0423-7           User: admin                  Page 1 of 2                   Date Rcvd: Oct 18, 2018
                               Form ID: 309A                Total Noticed: 43


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Oct 20, 2018.
db             +Mark Ashley Gibson,    211-1 College Drive,     Daleville, VA 24083-3088
jdb            +Lucia Gibson,    5438 Loblolly Dr,    Roanoke, VA 24019-2508
4660084        +Aaron’s,    3607 Williamson Road, NW,    Roanoke, VA 24012-3327
4660086         Asthma & Allergy Center,    1505 Franklin Road,     Roanoke, VA 24016-5206
4660088     ++++CAC FINANCIAL CORP,    2601 NW EXPRESSWAY STE 1000E,     OKLAHOMA CITY OK 73112-7236
               (address filed with court: CAC Financial Corp,       2601 NW Expressway,    Suite 1000 East,
                 Oklahoma City, OK 73112)
4660093        +CHECK INTO CASH,    4750 VALLEY VIEW BLVD.,     Roanoke, VA 24012-2033
4660090        +Carilion Clinic,    PO Box 13966,    Roanoke, VA 24038-3966
4660094        +Credicorp,    201 Keith Street,    Suite 80,    Cleveland, TN 37311-5867
4660098        +Dominion Accounting,    PO Box 1140,    Daleville, VA 24083-1140
4660099         Focused Recovery Solutions,     P.O. Box 63355,    Charlotte, NC 28263-3355
4660100        +Freedon First Federal Credit Union,     Attn: Bankruptcy,     5240 Valleypark Dr,
                 Roanoke, VA 24019-3002
4660101        +Glasser and Glasser, PLC,    P.O. Box 3400,     Norfolk, VA 23514-3400
4660103        +Janet Gibson,    1051 Old Country Club Road,     Apartment 4,    Roanoke, VA 24017-2961
4660107        +MedExpress Billing,    PO Box 719,    Dellslow, WV 26531-0719
4660109        +Member One FCU,    Attn: Bankruptcy,    Po Box 14087,    Roanoke, VA 24038-4087
4660110        +Mr. Cooper,    Attn: Bankruptcy,    8950 Cypress Waters Blvd,     Coppell, TX 75019-4620
4660114        +Roanoke Physician Services, LLC,     Mailstop 42190484,    PO Box 660827,    Dallas, TX 75266-0827
4660116        +Stern Recovery Services,    PO Box 14899,    Greensboro, NC 27415-4899
4660118        +Transworld Systems, Inc.,    300 Cedar Ridge Drive,     Suite 307,    Pittsburgh, PA 15205-1159
4660119        +US Deptartment of Education/Great Lakes,     Attn: Bankruptcy,     Po Box 7860,
                 Madison, WI 53707-7860

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: mgiles@gileslambert.com Oct 18 2018 23:07:12        Malissa Lambert Giles,
                 Giles & Lambert PC,    P O BOX 2780,    ROANOKE, VA 24001
tr             +EDI: BSSFARTHING.COM Oct 19 2018 02:58:00       Scot S. Farthing (424194),     P. O. Box 1315,
                 490 West Monroe Street,    Wytheville, VA 24382-2236
ust            +E-mail/Text: ustpregion04.rn.ecf@usdoj.gov Oct 18 2018 23:07:33         USTrustee,
                 Office of the United States Trustee,     210 First Street, Suite 505,     Roanoke, VA 24011-1620
4660085        +EDI: PHINAMERI.COM Oct 19 2018 02:58:00       AmeriCredit/GM Financial,     Attn: Bankruptcy,
                 Po Box 183853,    Arlington, TX 76096-3853
4660087        +EDI: TSYS2.COM Oct 19 2018 02:58:00       Barclays Bank Delaware,     Attn: Correspondence,
                 Po Box 8801,   Wilmington, DE 19899-8801
4660091        +E-mail/Text: collect@ccsroanoke.com Oct 18 2018 23:07:55        CCS,    P.O. Box 21504,
                 Roanoke, VA 24018-0152
4660089        +EDI: CAPITALONE.COM Oct 19 2018 02:58:00       Capital One,    Attn: Bankruptcy,    Po Box 30285,
                 Salt Lake City, UT 84130-0285
4660092        +EDI: CHASE.COM Oct 19 2018 02:58:00       Chase Card Services,    Correspondence Dept,
                 Po Box 15298,   Wilmington, DE 19850-5298
4660095        +EDI: CRFRSTNA.COM Oct 19 2018 02:58:00       Credit First National Assoc,
                 Attn: BK Credit Operations,    Po Box 81315,    Cleveland, OH 44181-0315
4660096        +EDI: RCSFNBMARIN.COM Oct 19 2018 02:58:00       Credit One Bank,     Attn: Bankruptcy,
                 Po Box 98873,   Las Vegas, NV 89193-8873
4660097        +E-mail/Text: collect@ccsroanoke.com Oct 18 2018 23:07:55        Creditors Collection Service,
                 Attn: Bankruptcy,    Po Box 21504,    Roanoke, VA 24018-0152
4660102        +EDI: IIC9.COM Oct 19 2018 02:58:00       I C System Inc,    444 Highway 96 East,    P.O. Box 64378,
                 St. Paul, MN 55164-0378
4660104        +EDI: FORD.COM Oct 19 2018 02:58:00       Kia Motors Finance Co,    Po Box 20825,
                 Fountain Valley, CA 92728-0825
4660105        +EDI: HCA2.COM Oct 19 2018 02:58:00       Lewis Gale Medical Center,     P.O. Box 740760,
                 Cincinnati, OH 45274-0760
4660106        +EDI: HCA2.COM Oct 19 2018 02:58:00       Lewis Gale Medical Center,     PO Box 13620,
                 Richmond, VA 23225-8620
4660108        +EDI: PARALONMEDCREDT Oct 19 2018 02:58:00       MediCredit Inc,    PO Box 1629,
                 Maryland Heights, MO 63043-0629
4660111        +E-mail/Text: electronicbkydocs@nelnet.net Oct 18 2018 23:07:39         Nelnet,   Attn: Claims,
                 Po Box 82505,   Lincoln, NE 68501-2505
4660112        +E-mail/Text: netcreditbnc@enova.com Oct 18 2018 23:07:57        NetCredit,
                 175 W. Jackson Blvd., Suite 1000,     Chicago, IL 60604-2863
4660113        +E-mail/Text: dhartman@roanokecountyva.gov Oct 18 2018 23:07:39         ROANOKE COUNTY TREASURER,
                 5204 BERNARD DRIVE,    Roanoke, VA 24018-4345
4660115        +Fax: 336-217-7467 Oct 18 2018 23:30:59       Solstas Lab Partners,     PO Box 740032,
                 Cincinnati, OH 45274-0032
4660117        +EDI: RMSC.COM Oct 19 2018 02:58:00       Synchrony Bank/Care Credit,     Attn: Bankruptcy Dept,
                 Po Box 965061,    Orlando, FL 32896-5061
4660120        +E-mail/Text: bkrpt21@maxprofitsys.com Oct 18 2018 23:07:37        Valley Credit Service, Inc,
                 Attn: Bankruptcy,    Po Box 2162,    Hagerstown, MD 21742-2162
4660121        +EDI: VERIZONCOMB.COM Oct 19 2018 02:58:00       Verizon Wireless,
                 Attn: Verizon Wireless Bankruptcy Admini,     500 Technology Dr, Ste 550,
                 Weldon Spring, MO 63304-2225
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District/off: 0423-7                  User: admin                        Page 2 of 2                          Date Rcvd: Oct 18, 2018
                                      Form ID: 309A                      Total Noticed: 43


Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center
(continued)
                                                                                            TOTAL: 23

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’++++’ were corrected as required by the USPS Locatable Address Conversion System (LACS).


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Oct 20, 2018                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on October 18, 2018 at the address(es) listed below:
NONE.                                                                                       TOTAL: 0
